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     ONLINENIC, INC. and DOMAIN ID SHIELD SERVICE
6    CO., LIMITED
7

8                                    UNITED STATES DISTRICT COURT
9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11   FACEBOOK, INC. and INSTAGRAM,                            Case No. 19-CV-07071-SVK
     LLC
12                                                            DEFENDANTS’ STATEMENT RE:
                       Plaintiffs,                            PLAINTIFFS’ EX PARTE
13           v.                                               APPLICATION FOR A
                                                              TEMPORARY RESTRAINING
14                                                            ORDER AT DKT. NO. 129
     ONLINENIC, INC. and DOMAIN ID
15   SHIELD SERVICE CO., LIMITED.

16                    Defendants.

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18
             Defendants OnlineNIC, Inc. and Domain ID Shield Service Co., Limited (“Defendants”)
19
     intend to file an opposition to Plaintiffs’ Ex Parte Application for a Temporary Restraining Order
20
     at Dkt. No. 129 (“TRO”) by 11 pm PST on July 22, 2021. Defendants’ counsel has not had
21
     adequate time to confer with Defendants, where the local China time is 15 hours ahead of Pacific
22
     time. In addition, Defendants’ counsel is working on a brief in another mater that is due at 5 pm
23
     today, July 22, 2021.
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             In the meantime, Defendants have assured counsel that they will not move, transfer or
25
     otherwise dissipate any assets. As to Plaintiffs’ allegations that Defendants are dissipating assets,
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     Defendants have advised counsel that they transferred some domains to a registrar called “Ename”
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     (www.ename.com) - which is the largest domain broker platform in China. Defendants intended
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                                                          - 1-
     Facebook, Inc. v. OnlineNIC, Inc.                                              Case No. 19-cv-7071-SVK
     Defendants’ Statement Re Plaintiffs’ TRO Application at Dkt. No. 129
           Case 3:19-cv-07071-SI             Document 130          Filed 07/22/21   Page 2 of 4



1    to auction the domains for the purpose of paying the Special Master in this case, which was the

2    subject of a case management conference on July 20, 2021. See Dkt. No. 124. As to these

3    domains, Defendants have cancelled or reversed any transfers.

4            Moreover, before the TRO was filed, Defendants agreed to stipulate to parts of the TRO, as

5    set forth in Exhibit A hereto – which was a letter sent by Defendants’ counsel prior to the filing of

6    the TRO. That letter reads in part:

7            including moving certain domain names to a neutral third party for sale. See Exhibit A

8    hereto, which is a letter sent to Plaintiff’s before the TRO was filed which states, in part:

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11           Plaintiffs’ allegations that Defendants were trying to sell domains in order to avoid paying

12   the Special Master (TRO., 11:1-7; 6: 17-26) are inaccurate. Defendants have never stated that they

13   would not pay the Special Master; Defendants have stated to their counsel that they have every

14   intention of doing so by selling such assets as may be necessary to do so. The intended sale of

15   some of the domains owned by OnlineNIC is part of payment plan being formulated by

16   Defendants, which the Court ordered Defendants to file by July 27, 2021. That is why Defendants

17   are happy to stipulate to the sale of those assets to pay the Special Master.

18           In another letter to Plaintiffs sent on July 21, 2021 (attached hereto as Exhibit B),

19   Defendants re-iterated their earlier proposal to Plaintiffs that Plaintiffs should allow OnlineNIC,

20   Inc. to be sold as a going concern, which would maximize return for all parties:

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26            So far, Plaintiffs have not responded. Instead, they filed for an asset freeze that would

27   block the very type of transaction that could allow the Special Master and other creditors to be paid

28   (including, potentially, Plaintiffs).
                                                          - 2-
     Facebook, Inc. v. OnlineNIC, Inc.                                              Case No. 19-cv-7071-SVK
     Defendants’ Statement Re Plaintiffs’ TRO Application at Dkt. No. 129
           Case 3:19-cv-07071-SI            Document 130           Filed 07/22/21   Page 3 of 4



1            It is important to note that Defendants’ commitment to paying the Special Master is not

2    “new found” religion. In fact, on June 29, 2021 (before a large part of the invoice amount was

3    incurred), Defendants wrote to the Special Master asking him to suspend his work until conferring

4    with the Court:

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18           The June 29 email specifically states that Defendants’ intended to pay the Special Master’s

19   invoice from cash flow from business operations. But the proposed asset freeze would interfere

20   with that objective – because OnlineNIC would be frightened to fully operate the business for fear

21   of violating any court order.

22           Finally, any insinuation (intentional or otherwise) that Defendants’ counsel has been part of

23   a plot to not honor obligations is improper. As far as Defendants’ counsel is aware, Defendants

24   had every intention to fight the litigation through trial – until July 13, 2021 following OnlineNIC’s

25   30(b)(6) deposition. At that time, Defendants’ counsel advised Defendants that he could not

26   continue in the case – and Defendants’ counsel moved to withdraw shortly thereafter with the

27   clients’ consent. (Dkt. No. 121).

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                                                          - 3-
     Facebook, Inc. v. OnlineNIC, Inc.                                              Case No. 19-cv-7071-SVK
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1            In short, the proposed asset freeze as proposed in not warranted because it would actually

2    hinder the objective of the Court’s order to submit a reasonable payment plan. Further analysis and

3    supporting declarations will follow in Defendants’ formal opposition.

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                                                      Respectfully Submitted,
8
     DATED: July 22, 2021                             LEXANALYTICA, PC
9

10                                                    By: /s/ Perry J. Narancic

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                                                      Attorneys for Defendants
12                                                    ONLINENIC, INC. and DOMAIN ID SHEILD
                                                      SERVICE CO., LIMITED
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     Facebook, Inc. v. OnlineNIC, Inc.                                              Case No. 19-cv-7071-SVK
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